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                                 Committee of Tort Claimants
B AKER & H OSTE TLER LLP




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                            13                            UNITED STATES BANKRUPTCY COURT

                            14                            NORTHERN DISTRICT OF CALIFORNIA

                            15                                    SAN FRANCISCO DIVISION

                            16   In re:                                                Bankruptcy Case
                                                                                       No. 19-30088 (DM)
                            17   PG&E CORPORATION,
                                                                                       Chapter 11
                            18            - and -                                      (Lead Case)
                                                                                       (Jointly Administered)
                            19   PACIFIC GAS AND ELECTRIC
                                 COMPANY,
                            20                       Debtors.                          FIFTH MONTHLY FEE STATEMENT
                                                                                       OF BAKER & HOSTETLER LLP FOR
                            21                                                         ALLOWANCE AND PAYMENT OF
                                                                                       COMPENSATION AND
                            22   □ Affects PG&E Corporation                            REIMBURSEMENT OF EXPENSES
                                                                                       FOR THE PERIOD JUNE 1, 2019
                            23   □ Affects Pacific Gas and Electric Company            THROUGH JUNE 30, 2019
                            24   ■ Affects both Debtors                                 [No hearing requested]
                            25   * All papers shall be filed in the Lead Case,         OBJECTION DEADLINE:
                                 No. 19-30088 (DM).                                    August 21, 2019 at 4:00 p.m. (PDT)
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                             1   To: The Notice Parties                                  Baker & Hostetler LLP
                             2   Name of Applicant:                                      Attorneys for the Official Committee of Tort
                                                                                         Claimants
                             3
                                 Authorized to Provide Professional Services to:         February 15, 2019*
                             4
                                 Period for which compensation and
                             5   reimbursement are sought:                               June 1, 2019 through June 30, 2019
                             6   Amount of compensation and reimbursement
                                 are sought:                                             $1,562,193.40 (80% of $1,952,741.75)
                             7
                                 Amount of expense reimbursement sought as
                             8   actual, reasonable, and necessary:                      $132,601.66
                             9

                            10          Baker & Hostetler LLP (“Baker” or the “Applicant”), the attorneys for the Official
                            11   Committee of Tort Claimants (the “Tort Committee”), representing the largest group of
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                            12   stakeholders in the jointly administered bankruptcy cases (the “Chapter 11 Cases”) of PG&E
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                            13   Corporation and Pacific Gas and Electric Company (the “Debtors”), hereby submits its fifth
                            14   monthly fee statement (the “Monthly Fee Statement”) for allowance and payment of
                            15   compensation for professional services rendered, and for reimbursement of actual and necessary
                            16   expenses incurred for the period commencing June 1, 2019 through and including June 30, 2019
                            17   (the “Fee Period”) pursuant to the Order Pursuant to 11 U.S.C §§ 331 and 105(a) and Fed. R.
                            18   Bankr. P. 2016 for Authority to Establish Procedures for Interim Compensation and
                            19   Reimbursement of Expenses of Professionals dated February 27, 2019 [Dkt. No. 701] (the “Interim
                            20   Compensation Procedures Order”).
                            21          By this Monthly Fee Statement, Baker requests allowance and payment of $1,562,193.40
                            22   (representing 80% of $1,952,741.75) as compensation for professional services rendered to the Tort
                            23   Committee during the Fee Period and allowance and payment of $132,601.66 (representing 100%
                            24   of the expenses allowed) as reimbursement for actual and necessary expenses incurred by Baker
                            25   during the Fee Period.
                            26          Annexed hereto as Exhibit A is the name of each professional who performed services for
                            27   the Tort Committee in connection with these Chapter 11 Cases and for which Baker is seeking
                            28   compensation during the Fee Period covered by this Monthly Fee Statement and the hourly rate
                                                                                   -2-
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                             1   and total fees for each professional. Attached hereto as Exhibit B is a summary of hours spent
                             2   during the Fee Period by task. Attached hereto as Exhibit C is a summary of expenses incurred
                             3   during the Fee Period. Attached hereto as Exhibit D are the detailed time entries for the Fee Period.
                             4   Attached hereto as Exhibit E are the detailed expense entries for the Fee Period.
                             5            PLEASE TAKE FURTHER NOTICE that, in accordance with the Interim Compensation
                             6   Procedures Order, responses or objections to this Monthly Fee Statement, if any, must be filed and
                             7   served on or before the 21st day (or the next business day if such day is not a business day)
                             8   following the date the Monthly Fee Statement is served (the “Objection Deadline”) with this
                             9   Court.
                            10            PLEASE TAKE FURTHER NOTICE that upon the expiration of the Objection Deadline,
                            11   Baker shall file a certificate of no objection with the Court, after which the Debtors are authorized
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                            12   and directed to pay Baker an amount equal to 80% of the fees and 100% of the expenses requested
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                            13   in this Monthly Fee Statement. If an objection is properly filed, the Debtors shall be authorized
                            14   and directed to pay Baker 80% of the fees and 100% of the expenses not subject to an objection.
                            15 Dated:     July 31, 2019                    Respectfully submitted,
                            16
                                                                           BAKER & HOSTETLER LLP
                            17

                            18                                             By:     /s/ Cecily A. Dumas
                                                                                   Cecily A. Dumas
                            19
                                                                           Attorneys for Official Committee of Tort Claimants
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